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Case number
(if known)

Mi Check if this is an amended

Debtor 1 Robert Divilbiss plan, and list below the
First Name Middle Name Last Name sections of the plan that

Debtor 2 have been changed.

(Spouse, if filing) First Name Middle Name Last Name 32

United States Bankruptcy Court for the: Northern District of Illinois

23-16427

Official Form 113

Chapter 13 Plan 12/417

To Debtors:

To Creditors:

This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that do
not comply with local rules and judicial rulings may not be confirmable.

in the following notice to creditors, you must check each box that applies.

Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
an attorney, you may wish to consult one.

if you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy
Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.

The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the
provision will be ineffective if set out later in the pian.

1.1 | A limit on the amount of a secured claim, set out in Section 3.2, which may result in a partial Mi Included C) Not Included
payment or no payment at all to the secured creditor

41.2 | Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out (J Included Mi Not Included
in Section 3.4

1.3. | Nonstandard provisions, set out in Part 8 (} Included Mi Not Included

Plan Payments and Length of Plan

2.1 Debtor(s) will make regular payments to the trustee as follows:

$2,678.00 per month for 60 months.

If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the payments
to creditors specified in this plan.

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2.2 Regular payments to the trustee will be made from future income in the following manner:
Check all that apply.
(_} Debtor(s) will make payments pursuant to a payroll deduction order.
wi Debtor(s) will make payments directly to the trustee.

(] Other (specify method of payment):

2.3 Income tax refunds.
Check one.
4 Debtor(s) will retain any income tax refunds received during the plan term.

() Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the return and will
turn over to the trustee all income tax refunds received during the plan term.

() Debtor(s) will treat income tax refunds as follows:

2.4 Additional payments.
Check one.
Wi None. /f “None” is checked, the rest of § 2.4 need not be completed or reproduced.

2.5 The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4is $160,680.00

Eee treatment of Secured Claims

3.1 Maintenance of payments and cure of default, if any.

Check one.
Wi None. /f “None” is checked, the rest of § 3.1 need not be completed or reproduced.

3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

QO) None. /f “None” is checked, the rest of § 3.2 need not be completed or reproduced.
The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

wi The debtor(s) request that the court determine the value of the secured claims listed below.For each non - governmental secured claim
listed below, the debtor(s) state that the value of the secured claim should be as set out in the column headedAmount of secured claim.
For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim listed in a proof of claim
filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below. For each listed claim, the value of the
secured claim will be paid in full with interest at the rate stated below.

The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5 of this
plan. if the amount of a creditor's secured claim is listed below as having no value, the creditor’s allowed claim will be treated in its
entirety as an unsecured claim under Part 5 of this plan.Unless otherwise ordered by the court, the amount of the creditor's total claim
listed on the proof of claim controls over any contrary amounts listed in this paragraph.

The holder of any claim listed below as having value in the column headedAmount of secured claim will retain the lien on the property
interest of the debtor(s) or the estate(s) until the earlier of:

(a) payment of the underlying debt determined under nonbankruptcy law, or

(b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.
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Name of creditor / Estimated Value of Amount of Amount of
Collateral amount of collateral claims secured
creditor's senior to claim
total claim creditor's
claim

Exeter Finance LLC $6,277.53 $4,941.66 $0.00 $4,941.66

Interest rate Monthly

28.00%

payment to
creditor

Pro-Rata

Estimated
total of
monthly
payments

$9,203.64

Collateral
2012 Volkswagen Passat

Santander Consumer $17,471.78 $7,958.00 $0.00 $7,958.00

20.50%

Pro-Rata

$23,019.07

USA, inc

Collateral
2017 Mitsubishi Outlander

Will County CCAO $18,700.00 $271,554.00 $0.00 _ $18,700.00

12.00%

Pro-Rata

$27,183.43

Collateral

2600 John Bourg, Plainfield,
IL 60586

2600 John Bourg Plainfield, IL
60586

New Rez LLC dba $19,053.24 $271,554.00 $18,700.00 $19,053.24

11.84%

Pro-Rata

$22,276.40

Shellpoint Morigage
Servicing

Collateral

2600 John Bourg, Plainfield,
IL 60586

2600 John Bourg Plainfield, IL
60586

insert additional claims as needed.

3.3 Secured claims excluded from 11 U.S.C. § 506.
Check one.

Wi None. /f “None” is checked, the rest of § 3.3 need not be completed or reproduced.

3.4 Lien Avoidance
Check one.

A None. /f “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5 Surrender of collateral.
Check one.

wi None. /f “None” is checked, the rest of § 3.5 need not be completed or reproduced.

Cr Treatment of Fees and Priority Claims

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4.1 General
Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
without postpetition interest.

4.2 Trustee’s fees
Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be 5.30% of plan payments; and
during the plan term, they are estimated to total $8,380.96

4.3 Attorney’s fees
The balance of the fees owed to the attorney for the debtor(s) is estimated to be $4,500.00 .

4.4 Priority claims other than attorney’s fees and those treated in § 4.5.
Check one.

4 None. /f “None” is checked, the rest of § 4.4 need not be completed or reproduced.

4.5 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.
Check one.

Wi None. /f “None” is checked, the rest of § 4.5 need not be completed or reproduced.

Treatment of Nonpriority Unsecured Claims

5.1 Nonpriority unsecured claims not separately classified.

Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
providing the largest payment will be effective. Check all that apply.

(.} The sum of
Wi 100.00% _ of the total amount of these claims, an estimated payment of __ $41,969.82 _.
Wi The funds remaining after disbursements have been made to all other creditors provided for in this plan.
if the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately __ $41,969.82
. Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.
5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

4 None. /f “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3 Other separately classified nonpriority unsecured claims. Check one.

Wi None. /f “None” is checked, the rest of § 5.3 need not be completed or reproduced.

a Executory Contracts and Unexpired Leases

6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts
and unexpired leases are rejected. Check one.

Wi None. /f “None” is checked, the rest of § 6.1 need not be completed or reproduced.

Vesting of Property of the Estate

7.1 Property of the estate will vest in the debtor(s) upon

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Check the applicable box:
(.} plan confirmation.

MW entry of discharge.

L) other:

EERE Nonstandard Plan Provisions

8.1 Check “None” or List Nonstandard Plan Provisions

4 None. /f “None” is checked, the rest of Part 8 need not be completed or reproduced.

a Signature(s):

9.1 Signatures of Debtor(s) and Debtor(s)’ Attorney

If the Debtor(s) do not have an attorney, the Debtor(s) must sign below; otherwise the Debtor(s) signatures are optional. The attorney for the
Debtor(s), if any, must sign below.

x. Robe bathe? x |

Robert Divilbiss Signature of Debtor 2
Signature of Debtor 1
Executed on @-il-A 7 Executed on

MM/ DD/ YYYY MM/ DD/ YYYY

Z

xX 7 lg pM Date & AAA 1

Signatufe of Attorney for Debtor(s) MM/DD/YYYY

By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) also certify(ies) that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Official Form 113, other than any nonstandard provisions
included in Part 8.
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Exhibit: Total Amount of Estimated Trustee Payments

The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts set out
below and the actual plan terms, the plan terms control.

a.

b.

C.

d.

Maintenance and cure payments on secured claims (Part 3, Section 3.1 total)

Modified secured claims (Part 3, Section 3.2 total)

Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total}

Judicial liens or security interests partially avoided (Part 3, Section 3.4 total)

Fees and priority claims (Part 4 total)

Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount)

Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)
Separately classified unsecured claims (Part 5, Section 5.3 total)

Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)
Nonstandard payments (Part 8, fota/)

Total of lines a through j

$0.00
$81,682.54
$0.00
$0.00
$12,880.96
$41,969.82
$0.00
$0.00
$0.00

$0.00

$136,533.32

